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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                        Case No.: 11-60198-Civ-Graham/Goodman

 SUSAN M. JORDAN,

         Plaintiff,
 v.



 ALLIANCEONE RECEIVABLES MANAGEMENT, INC.,

         Defendant.
                                                    /

                           SATISFACTION OF JUDGMENT


         The undersigned owner and holder of a Final Judgment (DE 45) for statutory

 damages entered January 4, 2012 and an Order (DE 60) for attorney's fees and costs

 entered July 19, 2012 against, AUianceOne Receivables Management, Inc., acknowledges

 that full payment thereof has been received and the Judgment is satisfied.




                                           Susan M. Jordan


 STATE OF FLORIDA                   )
                                    ss:

 COUNTY OF BROWARD                  )

         The foregoing Satisfaction of Judgment was acknowledged before me this / r *\—-
 day of rrlJC/UST, 2012 by Susan M. Jordan, who is personally known to me or who
 producedCf V10€f\ 1/C%-0 St                 as identification and who did/d^l not take an
 oath.


                                                                                    State of Florida
 My Commission Expires:

                                                          Mtifa NANCY L. HODGES
                                                         If p            Commission #EE 066442
                                                         W*?S?-3? Expires June 21,2015
                                                          ''%,'py'0? Bonded Thru Troy Fan Insurance 800-385-7019
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